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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION

In re:                                                      Case No. 09-51889
         TERRY MCINTOSH
         TRINA LAVELLE MCINTOSH
                 Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Beverly M. Burden, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 06/15/2009.

         2) The plan was confirmed on 08/12/2009.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
09/20/2010.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/15/2011.

         5) The case was dismissed on 04/23/2012.

         6) Number of months from filing to last payment: 34.

         7) Number of months case was pending: 45.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $27,442.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor             $7,422.03
       Less amount refunded to debtor                           $0.00

NET RECEIPTS:                                                                                $7,422.03


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $0.00
    Court Costs                                                          $0.00
    Trustee Expenses & Compensation                                    $406.03
    Other                                                                $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                               $406.03

Attorney fees paid and disclosed by debtor:                  $0.00


Scheduled Creditors:
Creditor                                    Claim         Claim          Claim       Principal      Int.
Name                              Class   Scheduled      Asserted       Allowed        Paid         Paid
AFNI INC                      Unsecured         645.00           NA            NA            0.00       0.00
CAPITAL ONE BANK              Unsecured            NA       1,397.18      1,397.18        132.70        0.00
CREDIT COLLECTION SERVICES    Unsecured         184.00           NA            NA            0.00       0.00
DONAHOO AUTO SALES            Secured        2,400.00            NA            NA            0.00       0.00
FIRST PREMIER BANK            Unsecured         418.00           NA            NA            0.00       0.00
HEILIG MEYERS MASTER TRUST    Unsecured      1,024.00            NA            NA            0.00       0.00
JACKSON ENERGY COOPERATIVE    Unsecured         303.47           NA            NA            0.00       0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured         576.00        909.47        909.47          86.38       0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured      1,189.00       1,378.83      1,378.83        130.96        0.00
JEFFERSON CAPITAL SYSTEMS LLC Unsecured         620.03        620.03        620.03          58.89       0.00
KENTUCKY RIVER MEDICAL CENTER Secured           600.00           NA            NA            0.00       0.00
KHEAA                         Unsecured      3,492.00       7,211.67      7,211.67        684.95        0.00
KHEAA                         Unsecured      1,755.00       1,855.03      1,855.03        176.19        0.00
LVNV FUNDING                  Unsecured         390.91           NA            NA            0.00       0.00
MARSHALL EMERGENCY SERVICES Unsecured           321.00           NA            NA            0.00       0.00
PARC                          Unsecured          50.00         50.00         50.00           4.74       0.00
PEOPLE FIRST RECOVERIES       Unsecured         614.00           NA            NA            0.00       0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured      9,921.45       9,921.45      9,921.45        942.32        0.00
PORTFOLIO RECOVERY ASSOCIATES Unsecured            NA         401.15        401.15          38.10       0.00
ROI SERVICES                  Unsecured          58.00           NA            NA            0.00       0.00
THE STUDENT LOAN PEOPLE       Unsecured      3,422.00            NA            NA            0.00       0.00
USDA RURAL HOUSING SERVICE    Secured       60,970.60     55,988.20      13,252.57      3,336.81        0.00
WORLD FINANCE CORP            Unsecured            NA           0.00      1,523.79        144.73        0.00
WORLD FINANCE CORP            Secured        3,200.00       2,723.79      1,200.00      1,200.00      79.23




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                $13,252.57          $3,336.81              $0.00
       Debt Secured by Vehicle                            $1,200.00          $1,200.00             $79.23
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                          $14,452.57          $4,536.81             $79.23

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $25,268.60          $2,399.96              $0.00


Disbursements:

         Expenses of Administration                               $406.03
         Disbursements to Creditors                             $7,016.00

TOTAL DISBURSEMENTS :                                                                        $7,422.03


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/06/2013                             By:/s/ Beverly M. Burden
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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